Label Matrix for Case     16-10370-JDW
                  local noticing         DocAEL
                                             35-1      Filed 09/04/18 Entered 09/04/18   10:24:42
                                                                                    Baptist             Desc
                                                                                            - Collierville
0537-1                                               matrix
                                            PO Box 144225     Page  1 of 2          1500 West Poplar Avenue
Case 16-10370-JDW                           Austin, TX 78714-4225                          Collierville, TN 38017-0601
Northern District of Mississippi
Aberdeen
Tue Sep 4 10:21:45 CDT 2018
Locke D. Barkley                            Robert Alan Byrd                               CAS Of Tennessee
6360 I-55 North                             145 Main Street                                P.O. Box 40916
Suite 140                                   P. O. Box 1939                                 Memphis, TN 38174-0916
Jackson, MS 39211-2038                      Biloxi, MS 39533-1939


Capital One Auto Finance                    Capital One Auto Finance                       Capital One Auto Finance
4515 N Santa Fe Ave. Dept. APS              P.O. Box 260848                                c/o AIS Portfolio Services, LP
Oklahoma City, OK 73118-7901                Plano, TX 75026-0848                           4515 N Santa Fe Ave. Dept APS
                                                                                           Oklahoma City, OK 73118-7901


Capital One Auto Finance                    Capital One Auto Finance c/o AIS Portfolio S   Central Credit Services, LLC
c/o Byrd & Wiser                            P.O. BOX 4360                                  20 Corporate Hills Drive
P.O. Box 1939                               Houston, TX 77210-4360                         Saint Charles, MO 63301-3749
Biloxi, MS 39533-1939


Consolidated Recovery Systems               Credit One Bank                                DR. JOSEPH STURDIVANT
PO Box 1719                                 P.O. Box 98873                                 Consolidated Recovery Systems
Memphis, TN 38101-1719                      Las Vegas, NV 89193-8873                       2650 Thousand Oaks Blvd, Ste 4200
                                                                                           MEMPHIS, TN 38118-2451


Dr. Joseph Sturdivant                       East Memphis Family Medicine                   Emergency Mobile Health Care, LLC
Post Office Box 2279                        PO Box 741370                                  P.O. Box 382550
Memphis, TN 38101-2279                      Atlanta, GA 30374-1370                         Germantown, TN 38183-2550



FRANCIS J FENAUGHTY MD PC                   First Premier Bank                             Francis J. Fenaughty, MD, PC
Consolidated Recovery Systems               3820 N Louise Ave                              P.O. Box 342409
2650 Thousand Oaks Blvd, Ste 4200           Sioux Falls, SD 57107-0145                     Bartlett, TN 38184-2409
MEMPHIS, TN 38118-2451


Pamela J German                             Randell L German                               LVNV Funding, LLC its successors and assigns
227 West Cox Road                           227 West Cox Road                              assignee of Bluestem Brands, Inc.
Byhalia, MS 38611-9284                      Byhalia, MS 38611-9284                         Resurgent Capital Services
                                                                                           PO Box 10587
                                                                                           Greenville, SC 29603-0587

METHODIST HEALTHCARE GERMANTOWN             MedPost Urgent Care - Collierville             Medical Anesthesia Group, P.A.
Consolidated Recovery Systems               Post Office Box 742620                         PO Box 171306
2650 Thousand Oaks Blvd, Ste 4200           Atlanta, GA 30374-2620                         Memphis, TN 38187-1306
MEMPHIS, TN 38118-2451


Memphis Radiological P.C.                   Methodist Healthcare                           Mid South Imaging & Therapeutics
PO Box 1000                                 Post Office Box 2279                           PO Box 5083
Memphis, TN 38101-2402                      Memphis, TN 38101-2279                         Memphis, TN 38101-5083
                 Case 16-10370-JDW
Midland Funding LLC                             DocMidland
                                                    35-1 Funding,
                                                              FiledLLC
                                                                     09/04/18 Entered 09/04/18
                                                                                            Pace 10:24:42       Desc TAG3
                                                                                                 Financial LLC Assignor
PO Box 2011                                                 matrix     Page
                                                   c/o Kelly C. Dicken, Esq. 2 of 2         200 Jefferson Avenue Suite 1000
Warren MI 48090-2011                                 Kinkelstein,Kern,Steinberg &Cunningham               Memphis, TN 38103-2391
                                                     Post Office Box 1
                                                     Knoxville, TN 37901-0001

Pace Financial, LLC                                  Premier Bankcard, Llc                                R. Alan Ellis, M.D.
Post Office Box 682187                               c o Jefferson Capital Systems LLC                    7705 Poplar Avenue, Ste. 310
Franklin, TN 37068-2187                              Po Box 7999                                          Germantown, TN 38138-3930
                                                     Saint Cloud Mn 56302-7999


Karen B. Schneller                                   St. Francis Family Medical                           The Little Clinic
P.O. Box 417                                         126 Hwy 72                                           Corporate Office
Holly Springs, MS 38635-0417                         Collierville, TN 38017                               2620 Elm Hill Pike
                                                                                                          Nashville, TN 37214-3108


Third Union Finance, Inc.                            Transworld Systems                                   U. S. Trustee
P.O. Box 400                                         507 Prudential Rd                                    501 East Court Street, Suite 6-430
Olive Branch, MS 38654-0400                          Horsham, PA 19044-2308                               Jackson, MS 39201-5022



Universal Collection Systems
PO Box 751090
Memphis, TN 38175-1090




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Capital One Auto Finance                          (d)Third Union Finance, Inc.                         End of Label Matrix
Post Office Box 260848                               PO Box 400                                           Mailable recipients      42
Plano, TX 75026-0848                                 Olive Branch, MS 38654-0400                          Bypassed recipients       2
                                                                                                          Total                    44
